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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 UNITED STATES OF AMERICA
        Plaintiff
                V                                          5:22: CR-00366-OLG
 (1) HOMERO ZAMORANO JR.,
 (4) FELIPE ORDUNA-TORRES,
 (7) ARMANDO GONZALES-ORTEGA,

        Defendants



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       Having considered the merits of the Government's motion for a pre-trial order regarding

transcripts and their corresponding English-to-Spanish translations, the Court hereby GRANTS

the motion.

       Consistent with the October 21, 2024 trial date, IT IS THEREFORE ORDERED that:

       1.      The Government provide the Defense with the transcripts and Spanish-to-English

translations of all the proposed messages it now intends to offer in its case-in-chief within one

business day of the date of this Order.4

       2.      The Defense will notify the Government of any objections to the admissibility j

the accuracy of those transcripts or translations by close of business Wednesday, July 31, 2024,

including any objections that any of the proposed excerpts necessitate further transcript inclusion.



  The Government represents that it provided these transcripts/translations to counsel for Defendant
Zarnorano on June 7, 2024 after being notified that same day that he was unopposed to this scheduling
order.
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        3.      The Government is not limited in its presentation of the evidence by this deadline.

But should the Government later decide to offer any additional communications, it will present

those to the Defense no later than the date the Government's exhibit list is due to the Court,5 with

the Defense then making any objections pursuant to the Court's same scheduling order regarding

exhibits.



       IT IS SO ORDERED.

       SIGNED AND ENTERED this 26day of_______



                                                                                  6.
                                             UNITED STATES Q4&TIQT JUDGE




 This date is currently October 10, 2024.
